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   4         April 26, 2012 Resolution of the Middletown Common Council finding Guertin's            5/27/2010    AR 9 - 13
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                                                  contrary)
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   9       Smith re: "City of Middletown: Legal Fees Issue" (attaching March 17, 2008 Isseks         5/12/2008   AR 28 - 32
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